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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Chicago Board Options Exchange Volatility Index
Manipulation Antitrust Litigation, et al.
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:18−cv−04171
                                                                      Honorable Manish S.
                                                                      Shah
John Does, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 25, 2019:


         MINUTE entry before the Honorable Manish S. Shah: Non−lead counsel may
listen to the proceedings in this matter set for 6/25/19 at 9:45 a.m. by dialing
888−204−5984, and using access code 9146677. Notices mailed. (psm, )




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